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                                                                                             October 25, 2021
   VIA ELECTRONIC COURT FILING
   The Hon. A. David Copperthite
   United States District Court for the District of Maryland
   101 West Lombard Street, 8B
   Baltimore, Maryland 21201

           Re: Alfred Chestnut, et al. v. Donald Kincaid, et al.
           Civil Action No. LKG-20-2342

   Dear Judge Copperthite:

          Pursuant to your Letter Order of August 9, 2021 (ECF 52), we write regarding two
   discovery disputes that Plaintiffs and the Individual Officer Defendants (“Individual
   Defendants”) have been unable to resolve despite good-faith efforts to do so.

          First, there is a dispute regarding Plaintiffs’ previously scheduled depositions of Edward
   Capers on November 1, 2021, and Ron Bishop on November 3, 2021. Plaintiffs wish to proceed
   with the depositions as scheduled. Individual Defendants object to proceeding with these
   depositions because they have not yet received all of the records requested from third parties.
   The parties met and conferred by telephone regarding this dispute on October 25, 2021, but have
   reached an impasse.

          Second, there is a related dispute concerning Individual Defendants’ desire to seek an
   extension to the current fact discovery deadline. Plaintiffs object to any extension of the current
   discovery deadline. The parties met and conferred by telephone regarding this dispute on
   October 25, 2021, but have reached an impasse.

         Plaintiffs and the Individual Defendants will set out their respective positions in
   submissions, to be filed within 24 hours of this letter.

                                                     Respectfully,

                                                            /s/
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